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11
     Attorneys for Plaintiff LIV Golf, Inc.
12
                              IN THE UNITED STATES DISTRICT COURT
13                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
14
     MATT JONES, BRYSON DECHAMBEAU,                  CASE NO. CASE NO. 5:22-cv-04486-BLF
15   PETER UIHLEIN, and LIV GOLF INC.,
                                                     DECLARATION OF JOHN
16                      Plaintiffs,                  LOFFHAGEN IN SUPPORT OF
                                                     SEALING
17          v.

18   PGA TOUR, INC.,

19                      Defendant.

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                            LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
                                     CASE NO. 5:22-CV-04486-BLF
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 1          I, John Loffhagen, hereby declare and state:

 2          1.      I am the Chief Legal Officer of LIV Golf. I am authorized by LIV Golf to make this

 3   statement in support of sealing portions of non-parties the Public Investment Fund of the Kingdom of

 4   Saudi Arabia and His Excellency Yasir Othman Al-Rumayyan’s Motion to Quash and Opposition to

 5   PGA Tour Inc.’s (the “Tour”) Motion to Compel Subpoena Compliance and the supporting declaration

 6   by Tim Taylor. I make the statements in this declaration based on personal knowledge, personal

 7   experience, and personal participation in communications with business associates. If called and sworn

 8   as a witness, I could and would testify to the facts stated in this declaration.

 9          2.      At lines 5:18-25 and 14:28-15:1, the Motion to Quash describes confidential LIV

10   documents cited in the Tour’s Motion to Compel. As I previously explained (Dkt. No. 158-1), these

11   documents describe LIV Golf’s internal decision-making processes and corporate governance and are

12   highly confidential to LIV Golf. LIV Golf goes to extensive lengths to keep this information

13   confidential. Disclosure of this information would cause competitive harm to LIV Golf by allowing

14   competitors (such as the Tour) to exploit information about LIV Golf’s internal decision-making

15   processes and corporate governance. For example, competitors could attempt to influence LIV Golf’s

16   investors or take advantage of limitations on LIV Golf’s decision-making powers. Disclosure of this

17   information would also harm LIV Golf’s ability to obtain future investment, including if it decides to

18   take outside funding.

19          3.      Tim Taylor has provided a declaration to address certain statements in the Tour’s

20   Motion to Compel. This declaration is described at lines 5:10-11 and 5:19-22 of the non-parties’

21   Motion to Quash. Similar to the exhibits, the Taylor declaration and related portions of the Motion

22   describe LIV Golf’s internal decision-making processes and corporate governance. This information

23   is highly confidential to LIV Golf. LIV Golf goes to extensive lengths to keep this information

24   confidential. Disclosure of the information would produce competitive harm, including competitor

25   attempts to influence investors, exploitation of limitations on LIV Golf’s decision-making powers, and

26   prejudice to LIV Golf’s ability to obtain outside funding.

27          4.      The Taylor declaration also cites and describes exhibits 16, 17, and 40 of the Motion to

28   Compel.     These exhibits contain highly confidential information about LIV Golf’s financial
                                                  2
                             LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
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 1   information and projections, including the amount of investment, projected expenditures, revenues,

 2   and income, as well as LIV Golf’s business and media plans and identity of consultants.

 3          5.      The following table summarizes that harm that could result from disclosure:

 4
            Document                                  Harm From Disclosure
 5
        Motion to Quash at      Competitive harm from exposure of internal decision-making
 6    lines 5:10-11, 5:18-25,   processes and corporate governance, including prejudice to future
          and 14:28-15:1        investment and exploitation of information by competitors.
 7        (Dkt. No. 166)
        Declaration of Tim      Competitive harm from exposure of internal decision-making
 8             Taylor           processes and corporate governance, including prejudice to future
 9       (Dkt. No. 166-6)       investment and exploitation of information by competitors.

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            I declare under penalty of perjury under the laws of the State of California and the United States
11
     of America that the foregoing is true and correct.
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14          Executed on November __, 2022.

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16                                                        /s/ _________________________
                                                          John Loffhagen
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                            LOFFHAGEN DECLARATION IN SUPPORT OF SEALING
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